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EXhibit A

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KEVlN T. SWEENEY

1250 15th Street West, Ste. 202
Billings, l\/lT 59102

Telephone: 406-256-8060
Facsimile: 406-254-8448
ktsweeney@hotmail.com

Attorney for Plaintiff

MONTANA TH|RTEENTH JUDlClAL DISTR|CT COURT, YELLOWSTONE COU-NTY '
JA|\/lES P. HEALOW, ' CAUSE NO. DV 17-1250

Plaintiff, v v JUDGE M|CHAEL G. MOSES
VS.

voLszAeEN GRouP oF AMERch.
lNc., RoBERT BoscH GMBH, RoBERT AMENDED cOMPLA|NT

BOSCH` LLC (l\/lontana State l_aw Clainis Only)

Def.en_dant.

 

Plaintiff alleges as follows: l
1. Since at least 2009, Defendant Volkswagen Group of America (VVV) intentionally
violated the laws of the United States and the regulations of the United States
Environmental l°rotection Agency (lZPA) by selling automobiles in the United
4 States that had a sophisticated software algorithm in the engine control modu|e.
The purpose of the software algorithm, defined in the C|ean Air Act as a “defeat

device,” was to detect when a car’s engine was being tested for compliance with

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emissions standards, and switch the car to an operating mode that would enable
the car`to appear to pass vehicle emissions standards At all times other than in
emissions testing mode, the engine control module would suppress emission
controls and switch the car’s operating mode to emit up to forty times the quantity
of nitrogen oxides allowed by federal emissions standards,

Nitrogen oxides are highly reactive gases that contribute to ground-level ozone,
fine particulate, and nitrogen dioxide pollution. Exposure to these pollutants is a
recognized cause of respiratory illnesses.

The_EF_’A has established regulations with strict emissions standards, and every
vehicle sold in the Unite`d States must meet these emissions standards to help
control air pollution

On September 18, 201_5, the EPA sent VW a Notice of Violation informing VW

that the EPA had discovered the defeat device in 2.0 liter diesel engines in at

- least the following diesel models of VW’s vehicles (the “Violating Vehic|es”):

2009-2015 \/\N Jetta; 2009-2015 VW Beetle; 2009-2015 VW Golf; 2014-2015
VW Passat; and 2009-2015 Audi A3.

Discovery may reveal that additional vehicle models and model years are
properly included as Violating Vehic|es. -

Since VW introduced its 2.0L TD| C|ean Diesel engine in 2008, VW has touted it
as a “fantastic power train” that “gives very good fuel economy” that “is also good

for the environment because it puts 25% less greenhouse gas emissions than

what a gasoline engine would, . . . cuts out the particulate emissions by 90% and

AMENDED COMPLA|NT ' PAGE 2 0F14

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the emissions of nitrous oxide are cut by 95%, . . . [and is] clean enough to be
certified in all 50 states.” (Statement of Vo'lkswagen Group of America, |nc.’s
Chief Operating Officer Mark Barnes,`to The Business lnsider, October 9, 2009.)

7. Mark Barnes did not add that the VW clean diesel vehicles were engineered to be
able to detect when.they were being tested and to switch the manner in which the
emissions system operated to be able to achieve those reductions in nitrogen
oxides. Mark Barnes also did not disclose was that, after circumventing the
emissions laws of the United States, every one ofVW’s clean diesel vehicles"
emissions systems were programmed to run in a model that would result in up to
40 times the allowable quantities of nitrogen oxides being released into the
atmosphere under normal operating conditions

8. l VW relied on this fraud to position itself as the market leader in automotive diesel
sales in the United States._According to VW’s documents, VW had captured 78% of
the automotive diesel sales in the United States by 2013.

9. ' VW also charged a premium for its Violating Vehicles, which VW marketed as
“CleanDiesel.” The 2015 Jetta base S model has `a NlSRP of $18,780, for example,
While the 2015 Jetta TDl S CleanDiesel model has a MSRP-of $21,640, a premium
of $2860.

10._ ` VW’s unlawfully fraudulent and unfair trade practices are detailed with greater detail
and specificity in the complaint filed in the Amended Consolidated Consumer Class
Action Complaint on file in U. S. District Court, _Northern District of California, San

Francisco Division Case No. MDL 2672 CRB (JSC), which by this reference is

AN|ENDED COMPLA|NT PAGE 3 OF 14

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incorporated herein. The complaint may be found online at this link:
https://www.boschvwsettlement.com/Content/Documents/Consolidated%ZOConsu

mer%ZOComplaint.pdf

v 11. The EPA has directed VW to recall all the Violating -\_/ehicles and repair them to

comply with emissions standards The repair will cause substantial changes in
performance and echiency in the Violating Vehicles, thus Plaintiffs’ vehicles Will no
longer perform as they did when purchased and as advertised

12. ' ROBERT BOSCH»GN|BH, ROBERT BOSCH, LLC were complicit in all ov VW’s
actions described in this amended complaint

JURiSDlCT|ON AND VENUE

' 131 Jurisdiction is proper in~ this Court because Plaintiff seeks not more than $75,000 in

damages (inclusive of costs and attorney’s fees). All claims are based exclusively
in Montana law. Plaintiff makes no federal law claims whatsoever.

14.*"- Regarding the class litigation described below, VW notified Plaintiff by email,'

d attached hereto as Exhibit 1, that his 2013 vehicle described below is not an eligible
vehicle in the class and that "You are__ not a member of the class . . .". Plaintift’s
2010 vehicle is not eligible by express exclusion set forth in settlement 112.16(0)(i).
Any effort by VW to remove or consolidate this case into the class action will be a
violation of Rule 11, MRCivP and of its counterpart federal rule.

151 - Venue is proper in this Court because Plaintiff is a resident of Yellowstone County
and Defendants have-sold Violating Vehicles and components thereof in

Yellowstone County.

 

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PART|ES
Plaintiffs James P. Healow is a citizen of Nlontana and resident of Billings,
Yellowstone County, Montana who purchased at various times five different
violating vehicle Volkswagen Jettas. The two vehicles pertinent to this action
are: l
(a) a 2013 Volkswagen Jetta TDl diesel sedan VlN
3VWLL7AJ6Dl\/1225060, was purchased through Copart in
Bi|lings, Nlontana, on October 5, 2015; and
(b) 5 a 2010 Volkswagen Jetta TDl diesel sedan VlN
3VWRL7AJ4AM027406, was purchased through Copart in
Billings, l\/lontana, on October 5, 2015.
Neither of the two vehicles are eligible vehicles as defined in the class
settlement P|aintiff is not an eligible class member with respect to either
v vehicle.

Plaintiff purchased all his Volkswagen Jetta TDl vehicles in part, because of the

“CleanDiesel" system as advertised by VW that touted the cleanliness of the

5 : engine system for the environment and the efficiency and power and

performance of the engine system.

Defendant Volkswagen G_roup of America, lnc. is a New Jersey corporation With
its principal place of business located at 2200 Ferdinand Porsche Drive,
Herndon, Virginia 20171. At all times relevant to this lawsuit, VW manufactured,

distributed, sold, leased, and warranted the Violating Vehicles under the

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Volkswagen and Audi brand names in the M'ontana. V\N and/or its agents
designed, manufactured, and installed the CleanDiesel engine system in the
Violating Vehicles. VW’s corporate parent is Volkswagen Aktiengesel|schaft,
based in Wolfsburg, Niedersachsen, Federal Republic of Germany.

191 Defendants ROBERT BOSCH Gl\/lBH and ROBERT BOSCH, LLC are foreign
corporations not registered to do business in Montana, but which does business n
in Montana as described in the preceding 1114. '

TOLL|NG AND ESTOPPEL

20. ' Any applicable statute of limitation has been tolled by VW’s knowledge, active
concealment., and denial of the facts alleged in this Complaint. Plaintiff could not
have reasonably discovered the true,defective nature of the Violating Vehicles
until a reasonable time after the EPA issued its notice of violation to VW. VW is
further estopped from relying on any statute of limitation because of its
concealment of the defective nature of the Violating Vehicles and their engines

CLA|MS

Count One b
Fraucl by Concealment (Montana state law)

4 '21. Plaintiff incorporates by'reference all preceding paragraphs

` 221 The nondisclosure, misrepresentations and/or concealment of material facts by .
VW to Plaintiffs, as set forth above, were known, or through reasonable care
should have been known, by VW to be false and material and were intended by
VW to mislead Plaintiff.

23. VW intentionally concealed and suppressed material facts concerning the quality

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of the Violating Vehicles

24. VW engaged in a secret scheme to evade federal vehicle emissions standards
by installing software designed to conceal its vehicles’ emissions of the pollutant
nitrogen oxide, which contributes to the creation of ozone and smog. The
software installed on the vehicles at issue was designed nefariously to engage
during emissions certification testing, such that the vehicles would show far lower
emissions than.when actually operating on the road. The result was what VW
intended: vehicles passed emissions certifications by way of deliberately induced
false readings Apparently, VW’s deliberate, secret scheme resulted in noxious
emissions from these vehicles at 40 times applicable standards

251 Plaintiff reasonably relied upon VW’s false representations Plaintiff had no way
of knowing that VW’s representations were false and misleading VW’s defeat
device Was a sophisticated software algorithm, and Plaintiff could not detect
VW’s deception.

261 VW had a duty to disclose these safety, quality, functionality, and reliability
issues because it consistently marketed its Violating Vehicles as possessing
certain performance and fuel economy characteristics and as being in

compliance with all applicable federal and state emissions standards VW _
' _ .- marketed the Violating Vehicles as being “CleanDiesel.” Once WV made
representations to the public about safety, quality, functionality, and reliability, as
well as about the performance and fuel economy characteristics of the

1 “CleanDiesel” vehicles in particular, VW was under a duty to disclose these

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omitted facts, because where one does speak one must speak the whole truth
and not conceal any facts which materially qualify those facts stated One who
volunteers information must be truthful, and the telling of a half-truth calculated to
deceive is fraud. -

271 VW had a duty to disclose the emissions scheme it engaged in with respect to‘
the Violating Vehicles because knowledge of the scheme and its details were _
known and/or accessible only to VW, because VW had exclusive knowledge as
to implementation and maintenance of its scheme, and because VW knew the

facts were not known to or reasonably discoverable by Plaintiff.

1281 y These concealed and omitted facts were material because they directly impact

the safety, quality, functionality, reliability, and value of the Violating Vehicles
Moreover, concealed and omitted facts were material because they directly
impact the value of the Violating Vehicles Whether a vehicle conforms to
emissions standards and whether an automobile manufacturer tells the truth
about compliance with emissions standards are material concerns to a
consumer.

29. VW actively concealed and/or suppressed these material facts, in whole or in
part, with the intent to induce`Plaintiff to purchase or lease Violating Vehicles at a
higher price that did not reflect the Violating Vehicles’ true value, and to pad and
protect its profits and to avoid the perception that its vehicles did not or could not

il comply with federal and state laws governing clean air and emissions which l

perception would hurt VW’s image and cost VW money, and it did so at Plaintiff's

AN|ENDED COMPLA|NT PAGE 8 OF 14

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15 x 321 . As a result of VW’s conduct, Plaintiff has been damaged because the value of his

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expense

301 Plaintiff was unaware of these omitted material facts that Were actively concealed
and/or suppressed in whole or in part, by VW with the intent to induce Plaintiff to
purchase o_r lease the Violating Vehicles at a higher price that did not reflect the
Violating 1Vehicles’ true value. d

31. ` lf Plaintiff had known of these concealed and/or suppressed material facts he
would not have acted as he did, in that he would not have purchased purportedly

l “clean” diesel cars manufactured by VW, and/or would not have continued to

drive their heavily-polluting vehicles or would have taken other affirmative steps
in light of the information concealed from him. Plaintiff‘s actions were justified
VW was in exclusive control of the material facts and such facts were not known

to the public or to Plaintiff.

Violating Vehicles has diminished as a result of VW’s fraudulent concealment of
its scheme to circumvent federal emissions standards, which has harmed the
Volkswagen and Audi brand names associated withthe Violating Vehicles

331 Furthermore, based on information and belief, Plaintiff anticipates that if and
when VWlis compelled to bring the Violating Vehicles into compliance with
federal emissions standards, as indicated by the EPA Notice of Violation, the
Violating Vehicles will no longer possess the performance and/or fuel economy

' y characteristics they were represented to possess at the time'of sale. l

341 V\N wantonly, maliciously, oppressively deliberately, with intent to defraud,' and in

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reckless disregard of Plaintiff’s rights engaged in a systematic and intentional

scheme to defraud consumers and federal regulators by circumventing the laws

' of the United States, and the state of Montana, by designing a defeat device in

the form of a software algorithm whose sole purpose was to make it appear that

the Violating Vehicles complied with federal and state emissions standards when,

in fact, they exceededsuch standards by as much as 40 times ln perpetrating

this scheme, VW was able to secure a 78% share of the automotive diesel
market in the United States by representing their “clean diesel” vehicles to have
performance and fuel economy characteristics that would not be possible if the
Violating Vehicles complied With federal and state emissions standards, not to
mention taking market share away from electric cars and cleaner burning hybrid
a'nd gasoline_combustion cars by this fraud

Based on information and belief, VW engaged in a course of conduct to ensure
that employees dealers and agents did not reveal this scheme to regulators or
consumers in order to facilitate its fraudulent scheme and enhance VW’s .
reputation and that of the Violating Vehicles in order to sell more vehicles and to
sell those vehicles at an inflated price.

Plaintiff purchased his non-eligible 2013 vehicle pertinent to this action through
Copart in Billings on October 5, 2015, 17 days after the EPA first issued to_VW a
notice of violation regarding the matter, and 15 short days after VW made its first

public admission of wrongdoing._ Plaintiff did not know the pertinent facts which

` VW had fraudulently concealed on October 5, 2015 when he bought his violating

AMENDED COMPLA|NT 1 PAGE 10 OF 14

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vehicle1 Montana law allows plaintiff two years until September 17, 2017, to
discover VW’s fraudulent behavior.- `VW subsequently was a defendant in a multi-
district class action lawsuit filed on behalf of purchasers and owners of violating
vehicles VW settled that lawsuit with members of the settlement class being
persons who owned violating vehicles prior to issuance of the EPA notice of
violation. VW acted in bad faith and with malice toward plaintiff by excluding him
from the class for no other reason than his inability to discover VW’s fraud and
duplicity even more quickly than the U.S. government agency charged with
l regulating VW was able to discover that fraud and duplicity. d v
37. Planitiff purchased his non~eligible 2010 vehicle through lAAl in Billings on
11/26/2.014, well before VW’s fraud Was exposed Plaintiff bought the vehicle as
a project car. By the time the vehicle was potentially roadworthy', VW’s fraud was
well-documented including the fact that violating vehicles pollute at up to 40
times the legally allowable rate. Per 112.16(c)(i), p16 , of the class settlement
-_ agreement plaintiff’s 2010 vehicle has damage to its wiring harness causing in a
lack of electricity to the fuel pump as a result of which the vehicle having been
“not capable of being driven under the power of its own 210-liter TDl engine” at
" any time from the date plaintiff bought it to date. 4The vehicle’s odometer reading
was 93737 when bought by plaintiff on 111/26/14. 'The odometer reading was
93737 when the vehicle was registered on 8/23/2016, 93737 when title first
issued on 9/2/2016, and the odometer remains 93737 on the date of this 4

amended complaint-because the vehicle at all times has “not [been] capable of

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being.driven under the power of its own 2.0-liter TDl engine". The electrical
problem could be repaired, but plaintiff has been unwilling to do so because he
vwill not knowingly place such a heavily polluting vehicle into .servlce. Montana
law allows plaintiff two years until September 17, 2017, to discover VW's
fraudulent behavior. VW has for many months refused to process a claim related
to plaintiffs 2010 vehicle, and come to the conclusion that the plaintiff and his
2010 vehicle is not class eligible, using as a sham pretense that the vehicle was
not registered during the interim between its purchase and its titleing some 21
months late-r1 VW has acted in bad faith and with malice toward plaintiff by
attempting to stall.its determination that the vehicle is not class eligible until after
the statute of limitiation for the filing of this action has lapsed

The class action settlement included a settlement matrix specifying the amounts
of damages VW agreed to pay to owners of eligible violating vehicles That
matrix is prima facie evidence of the damages suffered by an owner of a violating
vehic|e. Per the settlement matrix, plaintiffs damages for the 2013 vehicle are
$23,897; and his damages for the 2010 vehicle are $15,050. _

A class action settlement in a'related case against the Bosch defendants resulted
in `a settlement pursuant to which Bosch agreed to pay owers of eligible violating
vehicles $350 per vehicle. That settlement is prima facie evidence of the '
damages the Bosch defendants caused plaintiff for each of his two ineligible
violating vehicles

Defendants’ fraudulent and malicious conduct warrants an award of punitive and

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exemplary damages in an amount to be proven at trial.

Count Two
Montana Consumer Protection Act §30~14-101 et seq. MCA

411 Plaintiff incorporates by reference all preceding paragraphs

421 The deceptive acts and practices of VW in concealing the true nature of the
Violating Vehicles, as described in this Complaint, violates the Montana Unfair
Trade Practices and Consumer Protection Act of 1973.

431 Pursuant to §30-14-133 MCA plaintiff is entitled to treble damages and attorney

WHEREFORE, Plaintiff demands judgment against VW as follows:

'For damages from \/VV in the amount of $23,897 for his 2013 vehicle and
$15050 for his_2010 vehicle;

For damages from the Bosch defendants in the amount of $350 per
vehicle;

For trebling of damages the damages provided however that the total
amount awarded in'this action not exceed $75000;

For exemplary and punitive damages for-all defendants fraudulent and
malicious actions provided however that the total amount awarded in this 4
action not exceed $75000;’

For'an award of attorney's fees and costs as provided by any applicable
provision of law, provided however that the total amount awarded in this
action not exceed $75000.

For such other and further relief as the Court deems_just and equitable,

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provided however that such relief shall not result in a total amount
awarded in this action exceeding.$75000.
DATED this 6‘“ day of september, 2017.

KEV|N T. SWEENEY
1250 151h St. West, Ste. 202

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Deai' JAMES PATR\'CK HEALOW:

Based on the documents and information you have provided as part of your claim with Reference No. 161798337.
the 210-Liter Settlement Ciaims Prcgram. The reason(s) for your ineligibility is described beiow.

o Vehicle acquired from salvage/junkyard - Vou are not a member of the class because your title was branded
v purchased your vehicle from a junkyard or salvage yard after September 18, 201 51 '

if you believe you are entitled to claim benefits under the 2.0-Liter Settlement Claims Program, you may appeal tl'
Court-appointed Claims Rev_iew Committee. The Ciaims Review Committee is composed of one representative fro
from Settlement Class Counsel and a Court~appointed "Neutral" who will be called upon to resolve disagreements
other membersl should they arise. To submit an appeal to the Claims Review Committee, you must send a written
Re\'iew C°mmiff€e. 1091§<.>1><1?1141§9915591121411'131§\!§1!\!*!.43§.31§11. <>r MMMM~

Your request must include the following information:

- Claimant's name, address telephone number, VlN of the affected vehicle and Claim_ Reference Number
v You must also include a brief statement explaining why you believe the ineligibility determination was in err

After your claim is received and reviewed by the Claims Review Committee, you will receive a final determination z

 

 

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visit MMg§gtd_e;metij_-£Qm or contact the Settlement Support Team at 1-844-98~CLA1M.

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